Case 2:05-cr-20056-SH|\/| Document 142 Filed 09/01/05 Page 1 of 2 Page|D 112

 

UNITED STATES DISTRICT CoURT ama
FOR THE ’ ha
WESTERN DISTRICT 0F TENNESSEE guns SEP -\ FAH \0~

.............................§........§.............?*§...§.:}
U\"‘ g l 1131
,r\§ih‘{'\' - L_;'F.11.J1(\;O

,i:_:,- _¢'“\\ x'i"

CR. No. 05- zod%@ivl jo

 

UNITED STATES OF AMERICA

VS.

PATR]CK DOUGLAS,
APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM

Tholnas A. Colthurst applies to the Court for a Writ to have PATRICK DOUGLAS, DOB

08/05/1972, SS# XXX-XX-XXXX now being detained in the Ti ton Count Correctional Facili

 

appear before the Honorable Tu M. Pham on B, September, 20051 at 9:30 for an Im`tial
Appearance and for such other appearances as this Court may direct.

Respeetfully submitted this 1st day of September, 2005.

Thomas%. Colthurst

Assistant U. S. Attorney
.§...§¢+§0§..00.§§§.00§§.¢.¢..§§.§.§0.0.........§§§..§..§§.§
Upon consideration of the foregoing Appiication,
DAV|D JOLLEY, U.S. MARSHAL, WESTERN DISTRICT 0F TENNESSEE, MEMPHIS, TN
SHERIFF/wARl)EN, Buddy Lewis
YOU ARE HEREBY COMMANDED to have PATRICK DOUGLAS appear before the Honorable

Tu M. Pham at the date and time aforementioned

7a
ENTEREDrhis /5 day of quos.
AJ.W /C. §MCM/c~

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

3

Th!s docl.ment entered on ihe docket heet in co pllance _
with Rnle 55 and/or 32lb) FRCrP on ____j._._._..__.’ 90 ///OL

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 142 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

